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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

DWAINE COLEMAN,                                 )
                                                )
        Plaintiff,                              )
                                                )       Civil No. 3:15-cv-00898-SMY-RJD
vs.                                             )
                                                )
LT. VINSON, et al.,                             )
                                                )
        Defendants.                             )

                PLAINTIFF DWAINE COLEMAN’S MOTIONS IN LIMINE
                        AND MEMORANDUM IN SUPPORT

        COMES NOW Plaintiff Dwaine Coleman (“Plaintiff”), by and through the undersigned

counsel, and moves the Court to exclude: (1) evidence regarding Plaintiff’s criminal history,

including the arrest and convictions that led to his incarceration at Vienna Correctional Center and

the factual underpinnings of each; (2) evidence relating to any conduct violations or disciplinary

actions taken against Plaintiff unrelated to Plaintiff’s retaliation claim; (3) all witnesses (other than

parties to this lawsuit) from remaining in the courtroom during opening statements and the

testimony of all other witnesses; and (4) all grievances submitted by Plaintiff that are unrelated to

Plaintiff’s claim in the instant lawsuit. In support of these Motions, Plaintiff states as follows:

I.      PLAINTIFF’S FIRST MOTION IN LIMINE TO EXCLUDE EVIDENCE
        RELATING TO PLAINTIFF’S ARRESTS, CONVICTIONS, AND PRIOR BAD
        ACTS.

        A.      THE COURT SHOULD PROHIBIT THE INTRODUCTION OF EVIDENCE REGARDING
                PLAINTIFF’S ARRESTS, CONVICTIONS, AND PRIOR BAD ACTS BECAUSE SUCH
                EVIDENCE IS NOT RELEVANT.

        Evidence regarding the causes and details of Plaintiff’s arrests, convictions, and prior bad

acts, including the factual underpinnings of each, should be excluded because they are not relevant

to Plaintiff’s allegations that Defendants violated Plaintiff’s constitutional rights or any defense

thereto. Evidence must be relevant to be admissible. FED. R. EVID. 402. To be relevant, evidence
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must have a “tendency to make the existence of any fact that is of consequence to the determination

of the action more probable or less probable than it would be without the evidence.” FED. R. EVID.

401.

       Here, Plaintiff alleges that Defendants violated his constitutional rights while he was an

inmate at Vienna Correctional Center during incidents that took place beginning in November

2014. Evidence regarding Plaintiff’s arrests, convictions, and prior bad acts, in some instances

occurring over twenty years ago, does not have a tendency to make more or less probable “any

fact that is of consequence to the determination of this action.” FED. R. EVID. 401. For these

reasons, such evidence should be excluded as irrelevant.

       B.      THE COURT SHOULD PROHIBIT THE INTRODUCTION OF EVIDENCE REGARDING
               PLAINTIFF’S ARRESTS, CONVICTIONS, AND PRIOR BAD ACTS BECAUSE SUCH
               EVIDENCE IS UNFAIRLY PREJUDICIAL UNDER RULE 403.

       Evidence regarding Plaintiff’s arrests, convictions, and prior bad acts, and the underlying

conduct that served as the basis for each, should be excluded because, even if such evidence were

relevant, the probative value is substantially outweighed by the danger of unfair prejudice to

Plaintiff. FED. R. EVID. 403. “Unfair prejudice” under Rule 403 refers to the tendency of certain

evidence to provoke an emotional response from the jury or to otherwise suggest a decision on an

improper basis. Old Chief v. United States, 519 U.S. 172, 180–81 (1997).

       Courts have repeatedly recognized that the admission of a plaintiff’s prior convictions

could cause unfair prejudice. Schmude v. Tricam Indus., Inc., 556 F.3d 624, 627 (7th Cir. 2009)

(“Allowing a prior conviction to be used to impeach a witness’s testimony is controversial.”). The

admission of a prior conviction creates the potential for prejudice because such admission may

divert the jury’s attention away from the facts of Plaintiff’s case and, instead, the jury might

improperly focus on the circumstances surrounding Plaintiff’s incarceration.        Id.   See also




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Davenport v. DeRobertis, No. 83 C 4392, 1986 WL 4157, at *3 (N.D. Ill. Mar. 31, 1986) (in a civil

suit by inmates against Illinois Department of Corrections officials, evidence of inmates’

convictions ruled not admissible because convictions were “only minimally probative of [the

plaintiffs’] credibility and [were] very likely to cause prejudice to plaintiffs since jurors might be

unwilling to award damages once they have focused on the specific serious crimes which resulted

in plaintiffs’ incarceration.”).

        Because of the probability of unfair prejudice, the Seventh Circuit has cautioned district

courts to “proceed carefully” in allowing evidence of a plaintiff’s prior arrest and convictions.

Barber v. City of Chicago, 725 F.3d 702, 715 (7th Cir. 2013); see also Gora v. Costa, 971 F.2d

1325, 1331 (7th Cir. 1992) (cautioning courts to “be careful to ensure that a civil rights plaintiff’s

criminal past is not used to unfairly prejudice him or her.”). This is particularly important where,

as here, a plaintiff has filed a lawsuit alleging violations of his civil rights because such lawsuits

“serve an essential deterrent function in hopes of protecting citizens’ vital rights often pit

unsympathetic plaintiffs—criminals, or members of the criminal class—against the guardians of

the community’s safety.” Gora, 971 F.2d at 1331, quoting Geitz v. Lindsey, 893 F.2d 148, 151

(7th Cir. 1990) (internal quotation marks omitted).

        C.      THE COURT SHOULD PROHIBIT THE INTRODUCTION OF EVIDENCE REGARDING
                PLAINTIFF’S ARRESTS AND CONVICTIONS BECAUSE SUCH EVIDENCE IS NOT
                ADMISSIBLE UNDER RULE 609.

        Rule 609 also governs the admissibility of evidence related to prior convictions. Under

Rule 609(a)(1)(A), when a party wishes to attack a witness’ character for truthfulness, evidence of

a conviction for a crime punishable by imprisonment for more than a year “must be admitted,

subject to Rule 403, in a civil case or in a criminal case in which the witness is not a defendant.”

FED. R. EVID. 609(a)(1)(A). For crimes more than ten years removed from the present, Rule 609(b)

creates a heightened standard, and evidence of such a conviction is admissible only if the probative


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value “substantially outweighs its prejudicial effect” and reasonable written notice is given. FED.

R. EVID. 609(b) (emphasis added).

          According to the Illinois Department of Corrections, Plaintiff has some arrests and

convictions that occurred more than ten years ago, and Defendants cannot satisfy the heightened

standard of admissibility because the probative value of such evidence does not substantially

outweigh the prejudicial effect. In the past decade, Plaintiff’s criminal history includes convictions

for possession of cannabis and aggravated domestic battery. In criminal cases in the Seventh

Circuit, courts employ five considerations when evaluating the probative value against prejudicial

effect:

          (1) the impeachment value of the prior crime; (2) the point in time of the conviction
          and the defendant’s subsequent history; (3) the similarity between the past crime
          and the charged crime; (4) the importance of the defendant’s testimony; and (5) the
          centrality of the credibility issue.”

Martin v. City of Chicago, 15-CV-04576, 2017 WL 2908770, at *3 (N.D. Ill. July 7, 2017), quoting

United States v. Montgomery, 390 F.3d 1013, 1015 (7th Cir. 2004). “While not all of those factors

will apply in civil cases, the same general concerns may illuminate the court’s analysis.” Anderson

v. City of Chicago, 2010 WL 4928875, at *2–*3 (N.D. Ill. Nov. 30, 2010).

          Here, the impeachment value of Plaintiff’s more recent convictions for aggravated

domestic battery and possession of cannabis is non-existent and such convictions do not relate to

Plaintiff’s credibility as a witness. See Fermazin v. Menard, Inc., 2017 WL 1227937, at *5 (N.D.

Ill. Mar. 31, 2017) (aggravated battery has nothing to do with Plaintiff’s credibility). Similarly,

Plaintiff’s older convictions, including for theft, are equally non-admissible. See, e.g., Norris v.

Bartunek, 2017 WL 4556714, at *2 (N.D. Ill. Oct. 12, 2017) (slip copy) (theft is not inherently a

crime of dishonesty). Unfair prejudice would unjustifiably interfere with Plaintiff’s case should

the Court allow evidence to be presented regarding prior convictions. If the Defendants are



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allowed to mention or introduce any evidence regarding any of Plaintiff’s convictions, including

those leading to his current incarceration, the unfair prejudice that would befall Plaintiff is self-

evident. The Plaintiff may be cast in a more negative light, and viewed as a “bad person” by the

jury. See Coles v. City of Chicago, 2005 WL 1785326, at *3 (N.D. Ill. July 22, 2005) (“A jury

that learned of plaintiff’s armed robbery conviction well might view him as a ‘bad person’ not

because he is a liar . . . but instead because he committed a dangerous offense.”). The jury will

focus on the conviction, rather than the issues before it. In contrast, the probative value of such

evidence is non-existent, as the evidence has no bearing on either the issues in this case or

Plaintiff’s truthfulness as a witness.

        The Defendants cannot meet the admissibility burden under Rule 401, and cannot meet the

heightened burden under Rule 609(a) or Rule 609(b). The prejudicial effect of the introduction of

the evidence is heavily outweighed by the probative value. Evidence of Plaintiff’s convictions

should be excluded.

        WHEREFORE, Plaintiff requests that the Court grant Plaintiff’s First Motion in Limine

and exclude evidence regarding Plaintiff’s arrest, convictions, and prior bad acts, as well as the

factual basis for each, and award such other and further relief as it deems just and proper.

II.     PLAINTIFF’S SECOND MOTION IN LIMINE TO BAR REFERENCE TO ANY
        OF PLAINTIFF’S CONDUCT VIOLATIONS OR DISCIPLINARY HISTORY
        WHILE INCARCERATED.

        A.      THE COURT SHOULD PROHIBIT THE INTRODUCTION OF EVIDENCE REGARDING
                ANY CONDUCT VIOLATIONS OR DISCIPLINARY HISTORY AS SUCH EVIDENCE IS
                NOT RELEVANT.

        Plaintiff anticipates that Defendants may attempt to introduce evidence or elicit testimony

regarding Plaintiff’s IDOC conduct violations and/or disciplinary actions unrelated to his

retaliation claim in an attempt to impeach his credibility. Evidence must be relevant to be

admissible. FED. R. EVID. 402. To be relevant, evidence must have a “tendency to make the


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existence of any fact that is of consequence to the determination of the action more probable or

less probable than it would be without the evidence.” FED. R. EVID. 401. With the exception of

disciplinary actions related to Plaintiff’s retaliation claim, Plaintiff’s disciplinary records are not

relevant. See Hynes v. Coughlin, 79 F.3d 285, 290-91 (2d Cir. 1996) (“where there is no tenable

basis for contending that there was an issue such as intent or knowledge, it is error to admit an

inmate’s disciplinary record.”); Gomez v. Palmer, 11 C 1793, 2016 WL 212800, at *3 (N.D. Ill.

Jan. 19, 2016) (“disciplinary records are not relevant to his claims and do not bear on his credibility

or veracity”). As such, the Court should exclude such evidence from being admitted. FED. R.

EVID. 402.

       B.      THE COURT SHOULD PROHIBIT THE INTRODUCTION OF EVIDENCE REGARDING
               PLAINTIFF’S CONDUCT VIOLATIONS OR DISCIPLINARY HISTORY BECAUSE SUCH
               EVIDENCE IS UNFAIRLY PREJUDICIAL UNDER RULE 403, AND INADMISSIBLE
               UNDER RULE 404.

       Evidence regarding Plaintiff’s conduct violations or disciplinary history while

incarcerated, with the exception of disciplinary actions related to Plaintiff’s retaliation claim,

should be excluded because, even if it were relevant, the probative value of such evidence is

substantially outweighed by the danger of unfair prejudice to Plaintiff. FED. R. EVID. 403. “Unfair

prejudice” under Rule 403 refers to the tendency of certain evidence to provoke an emotional

response from the jury or to otherwise suggest a decision on an improper basis. Old Chief v. United

States, 519 U.S. 172, 180–81 (1997). Rule 404(b) prohibits the admission of “[e]vidence of a

crime, wrong, or other acts . . . to prove a person’s character in order to show that on a particular

occasion the person acted in accordance with the character.” FED. R. EVID. 404(b). See also United

States v. McCarthur, 6 F.3d 1270, 1279 (7th Cir. 1993).

       Courts routinely exclude evidence related to an inmate’s conduct violations and

disciplinary history as highly prejudicial. See, e.g., Essick v. Debruyn, 1995 WL 729313, at *2



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(N.D. Ind. Nov. 22, 1995) citing Young v. Rabideau, 821 F.2d 373, 377 (7th Cir. 1987)

(“[misconduct] evidence is considered unfairly prejudicial . . . because its admission makes it likely

that the jury will be induced to decide the case on an improper basis”); Jacobs v. Alexander, No.

1:05-cv-01625-SAB, 2016 WL 4440957, at *3 (E.D. Cal. Aug. 22, 2016) (inmate’s disciplinary

history is inadmissible as character evidence under Rule 404(b), but would be excluded as highly

prejudicial under Rule 403); Tirado v. Shutt, No. 13CV2848-LTS-AJP, 2015 WL 6866265, at *6

(S.D.N.Y Nov. 9, 2015) (motion in limine to allow cross examination on plaintiff’ disciplinary

history is denied, as any inquiry would have minimal probative value while being highly

prejudicial); Hill v. Arnold, No. 09-cv-05434-THE, 2015 WL 3523199, at *6-7 (N.D. Cal. June 4,

2015) (disciplinary history cannot be admitted pursuant to Rule 403 and 404(b)); Lovett v. Cole,

No. 1:11-cv-277, 2014 WL 5802666, at *4-5 (S.D. Ohio Nov. 7, 2014) (acts reflected in

disciplinary record are not probative of credibility).

       The introduction of Plaintiff’s disciplinary history would be unfairly prejudicial to Plaintiff

and could encourage the jury to enter a decision on an improper basis. If the Defendants are

allowed to introduce evidence on the issues discussed herein, the unfair prejudice that would befall

the Plaintiff is self-evident. The Plaintiff will be viewed as a “bad person” by the jury. See Coles,

supra. The jury will focus on Plaintiff’s disciplinary records (which are largely not at issue), rather

than evidence relevant to Plaintiff’s claims of excessive force, retaliation, and denial of access to

the court (which are directly at issue). In contrast, the probative value of such evidence is non-

existent, as none of the evidence has any bearing on either of the issues in this case or Plaintiff’s

truthfulness as a witness.

       Evidence of Plaintiff’s conduct violations and disciplinary history must be excluded to

ensure a fair trial to Plaintiff because such evidence has no probative value. Moreover, such




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evidence will be unduly prejudicial to Plaintiff’s case and may confuse the jury as to the relevant

facts and issues. Exclusion of such evidence is therefore warranted pursuant to Rule 403 of the

Federal Rules of Evidence, and not admissible under Rule 404.

       C.      THE COURT SHOULD PROHIBIT THE INTRODUCTION OF EVIDENCE REGARDING
               PLAINTIFF’S CONDUCT VIOLATIONS OR DISCIPLINARY HISTORY BECAUSE SUCH
               EVIDENCE DOES NOT FALL WITHIN THE RULE 608 EXCEPTION.

       Plaintiff’s disciplinary history is likewise inadmissible under Rule 608(b). Under Rule

608(b), extrinsic evidence is not admissible to prove specific instances of conduct or to show a

witness’ character for truthfulness. FED. R. EVID. 608(b). However, cross-examination on the

evidence may be allowed if it is probative of the witness’ character for truthfulness or

untruthfulness. FED. R. EVID. 608(b)(1). Nothing in Plaintiff’s disciplinary record is probative of

Plaintiff’s truthfulness or untruthfulness.     Plaintiff’s disciplinary history includes alleged

violations of disobeying a direct order and insolence, which do not speak to Plaintiff’s character

for truthfulness or untruthfulness. In addition to the inadmissibility of this evidence pursuant to

Rule 403 and 404, Defendants cannot rely on Rule 608 for admission of this evidence.

       WHEREFORE, Plaintiff requests that the Court grant Plaintiff’s Second Motion in Limine

and exclude any evidence of Plaintiff’s conduct violations and/or disciplinary history while

incarcerated, and for such other and further relief as this Court deems just and proper.

III.   PLAINTIFF’S THIRD MOTION IN LIMINE TO EXCLUDE NON-PARTY
       WITNESSES FROM THE COURTROOM DURING TRIAL.

       A.      THE COURT SHOULD EXCLUDE NON-PARTY WITNESSES FROM THE
               COURTROOM DURING TRIAL PURSUANT TO FEDERAL RULE OF EVIDENCE 615.

       Federal Rule of Evidence 615 requires exclusion of witnesses from the courtroom during

testimony. FED. R. EVID. 615; Green v. Goodyear Dunlop Tires N. Am., Ltd., 2010 WL 747503, at

*2 (S.D. Ill. Mar. 2, 2010) (noting that Federal Rule of Evidence 615 codifies the sequestration of

witnesses). Moreover, courts recognize that a witness who concludes his or her testimony and


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remains to observe some other part of the trial is prohibited from testifying in rebuttal. See United

States v. Tedder, 403 F.3d 836, 840 (7th Cir. 2005) (“If [defendant] wanted this witness available

for rebuttal, he should have kept him out of the courtroom.”). An Order that covers both of these

circumstances would properly prevent the contamination of witness testimony at trial.

       WHEREFORE, Plaintiff requests that this Court grant Plaintiffs’ Third Motion in Limine

and bar all non-party witnesses from the courtroom when they are not testifying and any non-party

witness who has observed testimony from later testifying in the case.

IV.    PLAINTIFF’S FOURTH MOTION IN LIMINE TO BAR REFERENCE TO
       GRIEVANCES SUBMITTED BY PLAINTIFF NOT AT ISSUE IN THIS CASE.

       A. THE COURT SHOULD PROHIBIT THE INTRODUCTION OF EVIDENCE REGARDING ANY
          GRIEVANCE SUBMITTED BY PLAINTIFF THAT IS NOT AS ISSUE IN THIS CASE AS
          SUCH EVIDENCE IS NOT RELEVANT AND WOULD BE UNFAIRLY PREJUDICIAL.

       Plaintiff anticipates that Defendants may attempt to introduce evidence or elicit testimony

regarding grievances submitted by Plaintiff that are unrelated to his retaliation claim. Indeed,

Defendants attempted to make arguments in their motion for summary judgment regarding

grievances that are irrelevant and not at issue. Evidence must be relevant to be admissible. FED.

R. EVID. 402. To be relevant, evidence must have a “tendency to make the existence of any fact

that is of consequence to the determination of the action more probable or less probable than it

would be without the evidence.” FED. R. EVID. 401. With the exception of grievances related to

Plaintiff’s retaliation claim, other grievances filed by Plaintiff are not relevant and thus

inadmissible. Only grievances that “go to the central issue” of a case are relevant and thus

admissible. See Mays v. Springborn, No. 01-CV-1254, 2014 WL 1420232, at *3 (C.D. Ill. Apr.

11, 2014). In this case, any grievance that relates to Plaintiff’s retaliation claim are the only

grievances which go to the central issue of this case. Accordingly, all other grievances are

irrelevant and inadmissible. Moreover, admission of unrelated grievances would be unfairly


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prejudicial to Plaintiff, in that the jury may perceive Plaintiff as a “bad” person for submitting

multiple grievances on multiple issues, none of which are pertinent to the veracity of Plaintiff’s

current claims.

          WHEREFORE, Plaintiff requests that the Court grant Plaintiff’s Fourth Motion in Limine

and exclude any evidence of grievances submitted by Plaintiff except for those relevant to

Plaintiff’s retaliation claim, and for such other and further relief as this Court deems just and

proper.



Dated: August 30, 2018                               Respectfully submitted,

                                                     LEWIS RICE LLC

                                                     By: /s/ Michael J. Hickey
                                                         Michael J. Hickey, #6272404(IL)
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                                                     Attorneys for Plaintiff Dwaine Coleman

                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on this 30th day of August, 2018, a true and correct
copy of the foregoing will be delivered to counsel of record via this Court’s CM/ECF electronic
filing service.

                                                      /s/ Michael J. Hickey




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